Case 1:01-cv-12257-PBS Document 6633-6 Filed 11/02/09 Page 1of5

EXHIBIT E
Case 1:01-cv-12257-PBS Document 6633-6 Filed 11/02/09 Page 2 of 5

|Column Record 1 Caiculation
DCN 2000038956915
ServiceLineNbr 6
AccidentinjuryCd 3
AdjudicatedDt 36574
AgeMonthsNbr X
AgeYearsNbr Xx
ApprCd Cc
BillerNbr

CatgMedINeedyCd 4
CatgOfAssistanceCd 93
Chronicllinessind

DataTypeCd F

DCNDt 36563
DocumentCd 1

DSCSServicesInd

ElSServiceUnitsNbr

EligibilityDefinerCd

EncounterPriceAmt

1
0
EntitlementProgramCd A
FamilyPlanningind 0

FederalCatgOfServiceCd 230

FederalCatgOfServicePct 0

FiscalYr

HIPAAVersion

HMHkKRecordCd 5

JuvRehabAndLEAServicePaidAmt 0

MCECoverageCd

MCEOrgCd

MCEProviderOrgInd 0

MCEProviderTypeCd

MCESiteNbr

MCESubmitterCd

MedicheckScreeningind

MedrEligibilityCd

NetCashBasisLiabilityAmt 28.1
NetLiabilityAmt 28.1
OGPCEAAdjCd

PayeelD 3635194846012600
PendDt 36563
PriorApprovalCd N
PriorApprovalControlNbr 0
ProgramCoverageCd

ProviderChargeAmt 28.1
ProviderlD 363519484001

ProviderReferenceNbr

ProviderTypeCd 60

Case 1:01-cv-12257-PBS Document 6633-6

RecipientCountyDistrictNbr 226
RecipientEligibilityMangpCd

RecipientEligibleSLIBCd

RecipientExceptionCd

RecipientGroupNbr 0
RecipientMCEEnrollmentTypeCd 0
RecipientMCENbr

RecipientRestrictionProgramCd
RecipientSpendDownTypeCd

ReconciliationCd

RecordIDCd D
RejectionStatusCd

ScheduleNbr 2182000
ServiceBillDt 36560
ServiceExclusionCarveOutCd

ServiceFromDt 36530
ServicePayableAmt 28.1
ServicePricedAmt 28.1
ServicePricedDt 36574
ServiceThruDt 36530
ServiceUnitsNbr 1
ServTrueCountyOfResidenceCd 200
SourceOfDataCd 6
SourceOfEntryCd E
SumDSHAdjAmt 0
SumNonDSHAdjAmt 0
SumTPLAdjAmt 0
SystemIDCd

Underservedind

UniversalProviderlD

Voidind

VoucherDt 36574
VoucherNbr 20000495358
CompoundCd 1
CompoundDispUnitCd

CompoundDosageFormCd

CompoundRoutAdminCd

CopayAmt 0
DaysSupplyiIntendDispNbr 0
DispenseStatCd

DrugDAWCd 0
DrugDaysSupplyNbr 7
DrugDurConflictCd

DrugPriceFormatCd 1
DrugQuan 500
DrugQuanAllow 500
DrugSpecificTherapeuticClassCd W8F

Filed 11/02/09 Page 3of5
Case 1:01-cv-12257-PBS Document 6633-6

DurLevEffortCd

DurLevEffortCd2

DurLevEffortCd3

IntendDispenseQuan

MedicarePartDCd

NationalDrugCd

00074613802

NbrRefillsAuth

0

NDCAPBasicHealthInd

1

NursingHomelnd

N

OtherCoverageCd

PrescribedQuan

PrescribingLastName

PrescribingPracQual

PrescribingPractitionerld

406923095

PrescriptionDt

36422

PrescriptionNbr

64136

PrimaryCareProviderlD

ProfessionalFeeAmt

3.75

ProfServCd

ProfServCd2

ProfServCd3

ReasForServCd

ReasForServCd2

ReasForServCd3

RefillNbr

ResultServCd

ResultServCd2

ResultServCd3

SubmissClarCd

UnitDoselnd

AllowAmt

CompoundDispUnitCdB

CompoundDosageFormCdb

IngrBasis

IngrCost

IngrQuan

NationalDrugCdb

Rejind

TPLActionCd

TPLAdjudicatedDt

TPLAmt

TPLResourceCd

TPLStatusCd

STECK_AdjudicatedDt

20000218

STECK_DCNDt

20000207

STECK_PendDt

20000207

STECK_ServiceBillDt

20000204

Filed 11/02/09 Page 4of5
Case 1:01-cv-12257-PBS Document 6633-6 Filed 11/02/09 Page 5 of 5

STECK_ServiceFromDt 20000105
STECK_ServicePricedDt 20000218
STECK_ServiceThruDt 20000105

STECK_VoucherDt 20000218
STECK_PrescriptionDt 19990919
STECK_TPLAdjudicatedDt 0

STECK_ID 6728102

Per Unit Ingredient Cost 0.0487 (A-B)/C

